Oo Cf ~s DO SH BB WwW NH

NY NO YN NSB BPO Pe SE SEF S| rE Rell El
BNRRRBRKRARKEESSGCeWARTDEBAHRAS

Case 3:21-cr-00685-WQH Document 51 Filed 06/07/22 PagelD.124 Page 1of3

 

FILED

JUN 0-7 2022

 

 

 

 

CLERK, U.S. DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
BY _.. DEPUTY

 

 

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Case No.: 21CR00685-WQH
Plaintiff,
FINDINGS AND
Vv. RECOMMENDATION UPON A
Mayra PARTIDA DE HERRERA, GUILTY PLEA
Defendant.

 

 

 

Upon Defendant’s request to enter a guilty plea to Count(s) 1 of the Superseding
Information under Federal Rule of Criminal Procedure 11, and with the written consent of
all the parties, the District Judge referred this matter to the Magistrate Judge.

Thereafter, in full compliance with Rules 11 and 59, the Magistrate Judge held a
guilty plea hearing.

FINDINGS

Based on that hearing, including Defendant’s allocution under oath and in the
presence of counsel, and after considering the records in the court docket, including any
plea agreement, this Court finds that:

1. Defendant understands:

 
oOo fo “SDH TA FF WD NHN eS

MN HN NN Re Re Re SE Ee ER Sl
BNHRRRPSORBHPSGEwADWABDRE ONS

 

 

Case 3:21-cr-00685-WQH Document 51 Filed 06/07/22 PagelD.125 Page 2 of 3

The government’s right, in a prosecution for perjury or false
statement, to use against the defendant any statement that the
defendant gives under oath;

The right to persist in a plea of “not guilty”;

The right to a speedy and public jury trial;

The right to be represented by counsel - and if necessary have the
court appoint counsel - at trial and at every other stage of the
proceeding;

The right at trial to confront and cross-examine adverse witnesses, to
be protected from compelled self-incrimination, to testify and present
evidence, and to compel the attendance of witnesses;

Defendant’s waiver of these trial rights if the court accepts the guilty
plea;

The nature of each charge to which Defendant is pleading;

Any maximum possible penalty, including imprisonment, fine, and
term of supervised release;

Any mandatory minimum penalty;

Any applicable forfeiture;

The court’s authority to order restitution;

The court’s obligation to impose a special assessment;

In determining a sentence, the court’s obligation to calculate the
applicable sentencing-guideline range and to consider that range,
possible departures under the Sentencing Guidelines, and other
sentencing factors under 18 U.S.C § 3553(a);

The terms of any plea-agreement provision waiving the right to appeal

or to collaterally attack the conviction and/or sentence; and

 
Oo Oo ~S DH th Se WH NHR

BOOB OBO ORO i Si SL Oe ESS

 

 

Case 3:21-cr-00685-WQH Document 51 Filed 06/07/22 PagelD.126 Page 3 of 3

o. That, if convicted, a defendant who is not a United States citizen may
be removed from the United States, denied citizenship, and denied
admission to the United States in the future.

2.  Defendant’s guilty plea is made knowingly, intelligently, and voluntarily,

and did not result from force, threats, or promises (other than those made in

a plea agreement).

3. There is a factual basis for Defendant’s plea.

4. Defendant is competent to enter a plea.

RECOMMENDATION

I therefore recommend that the District Judge accept Defendant’s guilty plea to the
aforementioned count(s).

The sentencing hearing will be before United States District Judge
William Q. Hayes on September 19, 2022, at 9:00 a.m. The Court excludes time from
June 7, 2022, through September 19, 2022, on the grounds that the
District Judge will be considering the proposed plea agreement and tendered plea
18 U.S.C, §3161¢h)(1)(G)&(H).

If not made within 14 days of this order, objections to these Findings and
Recommendations are waived. If the parties waive the preparation of the Presentence

Report, objections are due within three days of this Order.

AL—

Hon. Ardrew G. Schopler
United States Magistrate Judge

Dated: June 7, 2022

 
